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                             EXHIBIT 1
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                                          Henry Schein, Inc. Data taken from ARCOS Opioid Transactions1
                                                           Summit County, OH, 2006-2014

                                                        Transaction   Dosage                                                     Transaction   Dosage
Reporter Name        Buyer Name           Drug Name         Date       Unit    MME     Buyer Name                  Drug Name         Date       Unit    MME
Henry Schein Inc.    Berman, Andrew N     Fentanyl       3/21/2012       0     2,500   Harper, Adolph Jr           Hydrocodone    8/22/2006     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     2/1/2006      200    1,211   Harper, Adolph Jr           Hydrocodone    9/18/2006     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     3/1/2006      200    1,211   Harper, Adolph Jr           Hydrocodone   10/10/2006     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     4/3/2006      200    1,211   Harper, Adolph Jr           Hydrocodone   11/10/2006     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     5/4/2006      500    3,027   Harper, Adolph Jr           Hydrocodone    12/5/2006     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    7/11/2006      500    3,027   Harper, Adolph Jr           Hydrocodone     1/8/2007     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     9/8/2006      500    3,027   Harper, Adolph Jr           Hydrocodone     2/9/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    11/2/2006      500    3,027   Harper, Adolph Jr           Hydrocodone    3/19/2007     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    1/17/2007      500    3,027   Harper, Adolph Jr           Hydrocodone    4/17/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    3/22/2007      500    3,027   Harper, Adolph Jr           Hydrocodone    5/29/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    2/27/2008      500    3,027   Harper, Adolph Jr           Hydrocodone     7/3/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     4/8/2008      500    3,027   Harper, Adolph Jr           Hydrocodone     8/9/2007     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     5/1/2008      500    3,027   Harper, Adolph Jr           Hydrocodone    8/27/2007      500    2,270
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     6/2/2008      500    3,027   Harper, Adolph Jr           Hydrocodone    9/13/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    6/26/2008      500    3,027   Harper, Adolph Jr           Hydrocodone    10/9/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    7/23/2008      500    3,027   Harper, Adolph Jr           Hydrocodone   11/19/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    8/18/2008      200    1,211   Harper, Adolph Jr           Hydrocodone   12/28/2007     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    8/27/2008      500    3,027   Harper, Adolph Jr           Hydrocodone    2/13/2008     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    9/15/2008      500    3,027   Harper, Adolph Jr           Hydrocodone    4/28/2008      500    2,270
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    10/6/2008     1,000   6,054   Harper, Adolph Jr           Hydrocodone     6/2/2008     1,000   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone   12/10/2008      500    3,027   Harper, Adolph Jr           Hydrocodone    8/20/2008     1,500   4,541
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     1/9/2009     1,000   6,054   Harper, Adolph Jr           Hydrocodone   10/16/2008     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     3/3/2009     1,000   6,054   Harper, Adolph Jr           Hydrocodone    12/5/2008     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    4/10/2009      500    3,027   Harper, Adolph Jr           Hydrocodone    1/14/2009     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     5/5/2009      500    3,027   Harper, Adolph Jr           Hydrocodone    2/25/2009     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     6/8/2009      500    3,027   Harper, Adolph Jr           Hydrocodone     4/7/2009     1,500   6,811
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    6/26/2009      500    3,027   Hutzler, John Nelson Jr     Hydrocodone   10/28/2008      100     303
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    7/20/2009      500    3,027   Jones, Robert               Hydrocodone     3/3/2006      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    8/26/2009      200    1,211   Jones, Robert               Hydrocodone    5/19/2006      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    9/14/2009      200    1,211   Jones, Robert               Hydrocodone    7/28/2006      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    11/3/2010      200    1,211   Jones, Robert               Hydrocodone     9/7/2006      100     454
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    12/3/2010      200    1,211   Jones, Robert               Hydrocodone   11/15/2006      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     1/3/2011      200    1,211   Jones, Robert               Hydrocodone    1/17/2007      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    1/25/2011      200    1,211   Jones, Robert               Hydrocodone     4/3/2007      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    2/14/2011      200    1,211   Jones, Robert               Hydrocodone     6/6/2007      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     3/4/2011      100     605    Jones, Robert               Hydrocodone    8/16/2007      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     3/4/2011      100     605    Jones, Robert               Hydrocodone    11/2/2007      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     4/1/2011      200    1,211   Jones, Robert               Hydrocodone    1/22/2008      100     605
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     7/5/2011      200    1,211   Klespies, Richard M         Codeine       12/14/2007      100     663
Henry Schein Inc.    Classen, Gregory T   Hydrocodone     8/2/2011      200    1,211   Marshall, Edward            Meperidine     4/11/2012       0      436
Henry Schein Inc.    Classen, Gregory T   Hydrocodone    9/12/2011      200    1,211   Nirmal, Nithin K            Fentanyl      11/12/2013       0      100
Henry Schein Inc.    Demos, John          Hydrocodone     5/2/2006      100     454    Ohio Women's Center         Meperidine     4/18/2006       0      523
Henry Schein Inc.    Demos, John          Hydrocodone    8/30/2006      100     454    Okezie, Chimere             Fentanyl      11/16/2012       0     1,250
Henry Schein Inc.    Demos, John          Hydrocodone   12/28/2006      100     454    Okezie, Chimere             Fentanyl      11/16/2012       0      500
Henry Schein Inc.    Demos, John          Hydrocodone    6/11/2007      100     454    Okezie, Chimere             Meperidine    11/16/2012       0      218
Henry Schein Inc.    Demos, John          Hydrocodone   11/19/2007      100     454    Petry, Loren Michael        Meperidine    10/17/2006      100     436
Henry Schein Inc.    Demos, John          Hydrocodone    5/22/2008      100     454    Raymond, Loren A            Hydrocodone     5/9/2006      500    1,514
Henry Schein Inc.    Demos, John          Hydrocodone     3/5/2009      100     454    Raymond, Loren A            Hydrocodone    8/31/2007      500    1,514
Henry Schein Inc.    Droba, Gregory T     Codeine        6/18/2007      100     332    Sands, Larry Dale           Hydrocodone    8/28/2007      100     303
Henry Schein Inc.    Gair, Stuart B       Hydrocodone    6/24/2011      100     303    Shaffer, Patrick Jan        Hydrocodone    8/20/2009      100     454
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone    1/27/2006     1,000   4,541   Solooki, John               Fentanyl       3/12/2012       0      250
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone    2/24/2006     1,000   4,541   Solooki, John               Fentanyl        3/8/2013       0      100
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone    3/13/2006      500    2,270   Wallace, Sherrie Sharlina   Meperidine    11/17/2009       0      131
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone    4/10/2006     1,000   4,541   Wallace, Sherrie Sharlina   Meperidine     5/19/2011       0      131
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone     5/8/2006     1,000   4,541   Wallace, Sherrie Sharlina   Meperidine     6/18/2013       0      131
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone     6/7/2006     1,000   4,541   Woodruff, Todd E            Codeine        9/24/2008      200    1,326
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone    6/23/2006      500    2,270   Woolard, Joan               Codeine         5/7/2009      100     332
Henry Schein Inc.    Harper, Adolph Jr    Hydrocodone    7/26/2006     1,000   4,541

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       The data in the table is derived from Dr. McCann’s voluminous ARCOS output file (HSI.xlsx). For the convenience of the Court and
     in accordance with Federal Rules of Evidence 1006, Henry Schein submits this summary in lieu of that voluminous spreadsheet.
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